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                            Exhibit 1
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                                                                         Ex. 01 / P. 01
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             WHOIS BETA
Provide Feedback



   Showing results for: 21PORNTUBE.COM
   Original Query: www.21porntube.com
    www.21porntube.com                             Lookup



     Raw WHOIS Record

     Domain Name: 21PORNTUBE.COM

     Abuse email: abuse@ru-tld.ru

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     21porntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         https://evo.ru-tld.ru/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     21porntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     21porntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061
                                                                                     Ex. 01 / P. 02
              Case 3:13-cv-01045-SI     Document 136-1    Filed 07/22/14   Page 4 of 57
       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       21porntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.21PORNTUBE.COM
       Name Server: NS2.21PORNTUBE.COM

       Creation Date: 2011-11-15
       Expiration Date: 2014-11-15




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
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                                                                                          Ex. 01 / P. 03
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                            Exhibit 2
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                                                                         Ex. 02 / P. 01
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             WHOIS BETA


     8porntubes.com                                Lookup


Provide Feedback



   Showing results for: 8PORNTUBES.COM
   Original Query: 8porntubes.com



     Raw WHOIS Record

     Domain Name: 8PORNTUBES.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     8porntubes.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     8porntubes.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     8porntubes.com@whoisprotectservice.net                                          Ex. 02 / P. 02
              Case 3:13-cv-01045-SI     Document 136-1    Filed 07/22/14   Page 8 of 57
             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       8porntubes.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.8PORNTUBES.COM
       Name Server: NS2.8PORNTUBES.COM

       Creation Date: 2012-05-19
       Expiration Date: 2015-05-19




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
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these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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TLD.

                                                                                          Ex. 02 / P. 03
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                            Exhibit 3
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             WHOIS BETA


     anal-porntube.com                              Lookup


Provide Feedback



   Showing results for: anal-porntube.com
   Original Query: anal-porntube.com




     Contact Information
     Registrant Contact
     Name: Pablo Cabrera
     Organization:
     Mailing Address: 12 Rue de Valois, Paris 75001 FR
     Phone: +44.7762245071
     Ext:
     Fax:
     Fax Ext:
     Email:a.tt@email.com

     Admin Contact
     Name: Pablo Cabrera
     Organization:
     Mailing Address: 12 Rue de Valois, Paris 75001 FR
     Phone: +44.7762245071
     Ext:
     Fax:
     Fax Ext:
     Email:a.tt@email.com

     Tech Contact
     Name: Pablo Cabrera                                                            Ex. 03 / P. 02
      Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 12 of 57
Organization:
Mailing Address: 12 Rue de Valois, Paris 75001 FR
Phone: +44.7762245071
Ext:
Fax:
Fax Ext:
Email:a.tt@email.com




Registrar
WHOIS Server: whois.regtons.com
URL: http://regtons.com
Registrar: GRANSY S.R.O D/B/A SUBREG.CZ
IANA ID: 1505
Abuse Contact Email:abuse@regtons.com
Abuse Contact Phone: +420.734463373




Status
Domain Status:ok




Important Dates
Updated Date: 2014-02-26
Created Date:
Registration Expiration Date: 2015-05-03




Name Servers
ns1.zorv.com
ns2.zorv.com

                                                                            Ex. 03 / P. 03
    Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 13 of 57

Raw WHOIS Record

Domain Name: anal-porntube.com
Registry Domain ID: 1798858052_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.regtons.com
Registrar URL: http://regtons.com
Updated Date: 2014-02-27T00:00:00Z
Creation Date: 2013-05-04T00:00:00Z
Registrar Registration Expiration Date: 2015-05-
04T00:00:00Z
Registrar: GRANSY S.R.O D/B/A SUBREG.CZ
Registrar IANA ID: 1505
Registrar Abuse Contact Email: abuse@regtons.com
Registrar Abuse Contact Phone: +420.734463373
Domain Status: ok
Registry Registrant ID: G-675626
Registrant Name: Pablo Cabrera
Registrant Organization:
Registrant Street: 12 Rue de Valois
Registrant City: Paris
Registrant State/Province:
Registrant Postal Code: 75001
Registrant Country: FR
Registrant Phone: +44.7762245071
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: a.tt@email.com
Registry Admin ID: G-675626
Admin Name: Pablo Cabrera
Admin Organization:
Admin Street: 12 Rue de Valois
Admin City: Paris
Admin State/Province:
Admin Postal Code: 75001
Admin Country: FR
Admin Phone: +44.7762245071
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: a.tt@email.com
Registry Tech ID: G-675626
Tech Name: Pablo Cabrera
Tech Organization:
Tech Street: 12 Rue de Valois
Tech City: Paris
Tech State/Province:
Tech Postal Code: 75001
Tech Country: FR                                                          Ex. 03 / P. 04
              Case 3:13-cv-01045-SI    Document 136-1     Filed 07/22/14   Page 14 of 57
       Tech Phone: +44.7762245071
       Tech Phone Ext:
       Tech Fax:
       Tech Fax Ext:
       Tech Email: a.tt@email.com
       Name Server: ns1.zorv.com
       Name Server: ns2.zorv.com
       DNSSEC: unsigned
       URL of the ICANN WHOIS Data Problem Reporting System:
       http://wdprs.internic.net/
       >>> Last update of WHOIS database: 2014-07-17T21:00:00Z <<<




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
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these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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TLD.


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                                                                                        Ex. 03 / P. 05
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                             Exhibit 4
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             WHOIS BETA


     arabporntube4free.com                          Lookup


Provide Feedback



   Showing results for: arabporntube4free.com
   Original Query: arabporntube4free.com




     Contact Information
     Registrant Contact
     Name: Moniker Privacy Services
     Organization: Moniker Privacy Services
     Mailing Address: 2320 NE 9th St, Second Floor, Fort Lauderdale FL 33304 US
     Phone: +1.8006886311
     Ext:
     Fax: +1.9545859186
     Fax Ext:
     Email:
     cd643fd956d250e90f2e2d77c47c63a9ffd4a328f21eeb2ac9a96e3677b463a0@ara
     bporntube4free.com.whoisproxy.org

     Admin Contact
     Name: Moniker Privacy Services
     Organization: Moniker Privacy Services
     Mailing Address: 2320 NE 9th St, Second Floor, Fort Lauderdale FL 33304 US
     Phone: +1.8006886311
     Ext:
     Fax: +1.9545859186
     Fax Ext:
     Email:
     cd643fd956d250e90f2e2d77c47c63a9ffd4a328f21eeb2ac9a96e3677b463a0@ara     Ex. 04 / P. 02
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bporntube4free.com.whoisproxy.org

Tech Contact
Name: Moniker Privacy Services
Organization: Moniker Privacy Services
Mailing Address: 2320 NE 9th St, Second Floor, Fort Lauderdale FL 33304 US
Phone: +1.8006886311
Ext:
Fax: +1.9545859186
Fax Ext:
Email:
cd643fd956d250e90f2e2d77c47c63a9ffd4a328f21eeb2ac9a96e3677b463a0@ara
bporntube4free.com.whoisproxy.org




Registrar
WHOIS Server: whois.moniker.com
URL: http://www.moniker.com
Registrar: Moniker Online Services LLC
IANA ID: 228
Abuse Contact Email:abuse@moniker.com
Abuse Contact Phone: +1.9546071294




Status
Domain Status:clientDeleteProhibited
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited




Important Dates
Updated Date: 2013-09-24
Created Date:
Registration Expiration Date: 2015-04-26


                                                                            Ex. 04 / P. 03
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Name Servers
ns1.hostedtube.com
ns2.hostedtube.com




Raw WHOIS Record

Domain Name: arabporntube4free.com
Registry Domain ID: 1716256739_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.moniker.com
Registrar URL: http://www.moniker.com
Updated Date: 2013-09-24T09:30:00.0Z
Creation Date: 2012-04-26T20:35:37.0Z
Registrar Registration Expiration Date: 2015-04-
26T20:35:37.0Z
Registrar: Moniker Online Services LLC
Registrar IANA ID: 228
Registrar Abuse Contact Email: abuse@moniker.com
Registrar Abuse Contact Phone: +1.9546071294
Domain Status: clientDeleteProhibited
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Registry Registrant ID: WP-4
Registrant Name: Moniker Privacy Services
Registrant Organization: Moniker Privacy Services
Registrant Street: 2320 NE 9th St, Second Floor
Registrant City: Fort Lauderdale
Registrant State/Province: FL
Registrant Postal Code: 33304
Registrant Country: US
Registrant Phone: +1.8006886311
Registrant Phone Ext:
Registrant Fax: +1.9545859186
Registrant Fax Ext:
Registrant Email:
cd643fd956d250e90f2e2d77c47c63a9ffd4a328f21eeb2ac9a96e3677b
463a0@arabporntube4free.com.whoisproxy.org
Registry Admin ID: WP-4
Admin Name: Moniker Privacy Services
Admin Organization: Moniker Privacy Services
Admin Street: 2320 NE 9th St, Second Floor
Admin City: Fort Lauderdale
Admin State/Province: FL
Admin Postal Code: 33304
Admin Country: US                                      Ex. 04 / P. 04
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Admin Phone: +1.8006886311
Admin Phone Ext:
Admin Fax: +1.9545859186
Admin Fax Ext:
Admin Email:
cd643fd956d250e90f2e2d77c47c63a9ffd4a328f21eeb2ac9a96e3677b
463a0@arabporntube4free.com.whoisproxy.org
Registry Tech ID: WP-4
Tech Name: Moniker Privacy Services
Tech Organization: Moniker Privacy Services
Tech Street: 2320 NE 9th St, Second Floor
Tech City: Fort Lauderdale
Tech Postal Code: 33304
Tech State/Province: FL
Tech Country: US
Tech Phone: +1.8006886311
Tech Phone Ext:
Tech Fax: +1.9545859186
Tech Fax Ext:
Tech Email:
cd643fd956d250e90f2e2d77c47c63a9ffd4a328f21eeb2ac9a96e3677b
463a0@arabporntube4free.com.whoisproxy.org
Name Server: ns1.hostedtube.com
Name Server: ns2.hostedtube.com
DNSSEC: unsigned
Whoisprivacy: 4
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
>>> Last update of WHOIS database: 2014-07-17T21:44:34.0Z
<<<

Registry Billing ID: WP-4
Billing Name: Moniker Privacy Services
Billing Organization: Moniker Privacy Services
Billing Street: 2320 NE 9th St, Second Floor
Billing City: Fort Lauderdale
Billing State/Province: FL
Billing Postal Code: 33304
Billing Country: US
Billing Phone: +1.8006886311
Billing Phone Ext:
Billing Fax: +1.9545859186
Billing Fax Ext:
Billing Email:
cd643fd956d250e90f2e2d77c47c63a9ffd4a328f21eeb2ac9a96e3677b
463a0@arabporntube4free.com.whoisproxy.org
; Please register your domains at; http://www.moniker.com;
This data is provided by Moniker Online Services, LLC.
; for information purposes, and to assist persons obtaining
information                                            Ex. 04 / P. 05
; about or related to domain name registration records.
              Case 3:13-cv-01045-SI    Document 136-1     Filed 07/22/14   Page 21 of 57
       ; Moniker Online Services, LLC. does not guarantee its
       accuracy.
       ; By submitting a WHOIS query, you agree that you will use
       this data
       ; only for lawful purposes and that, under no
       circumstances, you will
       ; use this data to
       ; 1) allow, enable, or otherwise support the transmission
       of mass
       ;    unsolicited, commercial advertising or solicitations
       via E-mail
       ;    (spam); or
       ; 2) enable high volume, automated, electronic processes
       that apply
       ;    to this WHOIS server.
       ; These terms may be changed without prior notice.
       ; By submitting this query, you agree to abide by this
       policy.




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    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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             WHOIS BETA


     beautyporntube.com                             Lookup


Provide Feedback



   Showing results for: BEAUTYPORNTUBE.COM
   Original Query: beautyporntube.com




     Contact Information
     Registrant Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA NA PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:
     CA973B3B520E468ABB157145CBA9D990.PROTECT@WHOISGUARD.COM

     Admin Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA NA PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:
     CA973B3B520E468ABB157145CBA9D990.PROTECT@WHOISGUARD.COM
                                                                                    Ex. 05 / P. 02
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Tech Contact
Name: WHOISGUARD PROTECTED
Organization: WHOISGUARD, INC.
Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA NA PA
Phone: +507.8365503
Ext:
Fax: +51.17057182
Fax Ext:
Email:
CA973B3B520E468ABB157145CBA9D990.PROTECT@WHOISGUARD.COM




Registrar
WHOIS Server: whois.enom.com
URL: www.enom.com
Registrar: ENOM, INC.
IANA ID: 48
Abuse Contact Email:abuse@enom.com
Abuse Contact Phone: +1.4252744500




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2013-09-17
Created Date:
Registration Expiration Date: 2014-09-17




Name Servers
NS1.PUB-NS.COM                                                              Ex. 05 / P. 03
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NS2.PUB-NS.COM




Raw WHOIS Record


Domain Name: BEAUTYPORNTUBE.COM
Registry Domain ID: 1827970808_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2013-09-17 15:11:42Z
Creation Date: 2013-09-17 22:11:00Z
Registrar Registration Expiration Date: 2014-09-17
22:11:00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Registrar Abuse Contact Email: abuse@enom.com
Registrar Abuse Contact Phone: +1.4252744500
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823-03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: NA
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:
CA973B3B520E468ABB157145CBA9D990.PROTECT@WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823-03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: NA
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                           Ex. 05 / P. 04
CA973B3B520E468ABB157145CBA9D990.PROTECT@WHOISGUARD.COM
     Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 27 of 57
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823-03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: NA
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:
CA973B3B520E468ABB157145CBA9D990.PROTECT@WHOISGUARD.COM
Name Server: NS1.PUB-NS.COM
Name Server: NS2.PUB-NS.COM
DNSSEC: unSigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2013-09-17 15:11:42Z

The data in this whois database is provided to you for
information
purposes only, that is, to assist you in obtaining
information about or
related to a domain name registration record. We make this
information
available "as is," and do not guarantee its accuracy. By
submitting a
whois query, you agree that you will use this data only for
lawful
purposes and that, under no circumstances will you use this
data to: (1)
enable high volume, automated, electronic processes that
stress or load
this whois database system providing you this information;
or (2) allow,
enable, or otherwise support the transmission of mass
unsolicited,
commercial advertising or solicitations via direct mail,
electronic
mail, or by telephone. The compilation, repackaging,
dissemination or
other use of this data is expressly prohibited without
prior written
consent from us.

We reserve the right to modify these terms at any time. By
submitting
this query, you agree to abide by these terms.         Ex. 05 / P. 05
Version 6.3 4/3/2002
              Case 3:13-cv-01045-SI    Document 136-1     Filed 07/22/14   Page 28 of 57



    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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                                                                                        Ex. 05 / P. 06
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                             Exhibit 6
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                                                                      Ex. 06 / P. 01
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             WHOIS BETA


     bigbootyporntube.com                           Lookup


Provide Feedback



   Showing results for: BIGBOOTYPORNTUBE.COM
   Original Query: bigbootyporntube.com




     Contact Information
     Registrant Contact
     Name: FMR MEDIA
     Organization: FMR MEDIA
     Mailing Address: P.O. BOX 3124, ALHAMBRA CA 91803 US
     Phone: +1.6263081154
     Ext:
     Fax:
     Fax Ext:
     Email:DOMAINS@FMRMEDIA.COM

     Admin Contact
     Name: FMR MEDIA
     Organization: FMR MEDIA
     Mailing Address: P.O. BOX 3124, ALHAMBRA CA 91803 US
     Phone: +1.6263081154
     Ext:
     Fax:
     Fax Ext:
     Email:DOMAINS@FMRMEDIA.COM

     Tech Contact
     Name: FMR MEDIA                                                                Ex. 06 / P. 02
      Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 32 of 57
Organization: FMR MEDIA
Mailing Address: P.O. BOX 3124, ALHAMBRA CA 91803 US
Phone: +1.6263081154
Ext:
Fax:
Fax Ext:
Email:DOMAINS@FMRMEDIA.COM




Registrar
WHOIS Server: whois.enom.com
URL: www.enom.com
Registrar: ENOM, INC.
IANA ID: 48
Abuse Contact Email:abuse@enom.com
Abuse Contact Phone: +1.4252744500




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2014-04-06
Created Date:
Registration Expiration Date: 2015-12-14




Name Servers
NS1.CANDIDHOSTING.COM
NS2.CANDIDHOSTING.COM

                                                                            Ex. 06 / P. 03
    Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 33 of 57

Raw WHOIS Record


Domain Name: BIGBOOTYPORNTUBE.COM
Registry Domain ID: 1578865150_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2014-04-06 14:43:24Z
Creation Date: 2009-12-14 14:54:00Z
Registrar Registration Expiration Date: 2015-12-14
14:54:00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Registrar Abuse Contact Email: abuse@enom.com
Registrar Abuse Contact Phone: +1.4252744500
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: FMR MEDIA
Registrant Organization: FMR MEDIA
Registrant Street: P.O. BOX 3124
Registrant City: ALHAMBRA
Registrant State/Province: CA
Registrant Postal Code: 91803
Registrant Country: US
Registrant Phone: +1.6263081154
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: DOMAINS@FMRMEDIA.COM
Registry Admin ID:
Admin Name: FMR MEDIA
Admin Organization: FMR MEDIA
Admin Street: P.O. BOX 3124
Admin City: ALHAMBRA
Admin State/Province: CA
Admin Postal Code: 91803
Admin Country: US
Admin Phone: +1.6263081154
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: DOMAINS@FMRMEDIA.COM
Registry Tech ID:
Tech Name: FMR MEDIA
Tech Organization: FMR MEDIA
Tech Street: P.O. BOX 3124
Tech City: ALHAMBRA
Tech State/Province: CA
Tech Postal Code: 91803                                                   Ex. 06 / P. 04
       Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 34 of 57
  Tech Country: US
  Tech Phone: +1.6263081154
  Tech Phone Ext:
  Tech Fax:
  Tech Fax Ext:
  Tech Email: DOMAINS@FMRMEDIA.COM
  Name Server: NS1.CANDIDHOSTING.COM
  Name Server: NS2.CANDIDHOSTING.COM
  DNSSEC: unSigned
  URL of the ICANN WHOIS Data Problem Reporting System:
  http://wdprs.internic.net/
  Last update of WHOIS database: 2014-04-06 14:43:24Z

  The data in this whois database is provided to you for
  information
  purposes only, that is, to assist you in obtaining
  information about or
  related to a domain name registration record. We make this
  information
  available "as is," and do not guarantee its accuracy. By
  submitting a
  whois query, you agree that you will use this data only for
  lawful
  purposes and that, under no circumstances will you use this
  data to: (1)
  enable high volume, automated, electronic processes that
  stress or load
  this whois database system providing you this information;
  or (2) allow,
  enable, or otherwise support the transmission of mass
  unsolicited,
  commercial advertising or solicitations via direct mail,
  electronic
  mail, or by telephone. The compilation, repackaging,
  dissemination or
  other use of this data is expressly prohibited without
  prior written
  consent from us.

  We reserve the right to modify these terms at any time. By
  submitting
  this query, you agree to abide by these terms.
  Version 6.3 4/3/2002

  Get Noticed on the Internet! Increase visibility for this
  domain name by listing it at www.whoisbusinesslistings.com




Submit a Complaint for WHOIS                                                 Ex. 06 / P. 05
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    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
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                                                                                        Ex. 06 / P. 06
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                             Exhibit 7
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                                                                      Ex. 07 / P. 01
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             WHOIS BETA


     boysporntube.net                               Lookup


Provide Feedback



   Showing results for: BOYSPORNTUBE.NET
   Original Query: boysporntube.net




     Contact Information
     Registrant Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA NA PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:4C6C8BA055664D0FA409A036EF475DFA.PROTECT@WHOISGUARD.COM

     Admin Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA NA PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:4C6C8BA055664D0FA409A036EF475DFA.PROTECT@WHOISGUARD.COM

     Tech Contact
     Name: WHOISGUARD PROTECTED                                                     Ex. 07 / P. 02
      Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 39 of 57
Organization: WHOISGUARD, INC.
Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA NA PA
Phone: +507.8365503
Ext:
Fax: +51.17057182
Fax Ext:
Email:4C6C8BA055664D0FA409A036EF475DFA.PROTECT@WHOISGUARD.COM




Registrar
WHOIS Server: whois.enom.com
URL: www.enom.com
Registrar: ENOM, INC.
IANA ID: 48
Abuse Contact Email:abuse@enom.com
Abuse Contact Phone: +1.4252744500




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2013-09-17
Created Date:
Registration Expiration Date: 2014-09-18




Name Servers
NS1.EXMASTERS.COM
NS2.EXMASTERS.COM

                                                                            Ex. 07 / P. 03
     Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 40 of 57

Raw WHOIS Record


Domain Name: BOYSPORNTUBE.NET
Registry Domain ID: 1828014382_DOMAIN_NET-VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2013-09-18 03:42:58Z
Creation Date: 2013-09-18 10:42:00Z
Registrar Registration Expiration Date: 2014-09-18
10:42:00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Registrar Abuse Contact Email: abuse@enom.com
Registrar Abuse Contact Phone: +1.4252744500
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823-03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: NA
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:
4C6C8BA055664D0FA409A036EF475DFA.PROTECT@WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823-03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: NA
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:
4C6C8BA055664D0FA409A036EF475DFA.PROTECT@WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823-03411                       Ex. 07 / P. 04
    Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 41 of 57
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: NA
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:
4C6C8BA055664D0FA409A036EF475DFA.PROTECT@WHOISGUARD.COM
Name Server: NS1.EXMASTERS.COM
Name Server: NS2.EXMASTERS.COM
DNSSEC: unSigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2013-09-18 03:42:58Z

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information
purposes only, that is, to assist you in obtaining
information about or
related to a domain name registration record. We make this
information
available "as is," and do not guarantee its accuracy. By
submitting a
whois query, you agree that you will use this data only for
lawful
purposes and that, under no circumstances will you use this
data to: (1)
enable high volume, automated, electronic processes that
stress or load
this whois database system providing you this information;
or (2) allow,
enable, or otherwise support the transmission of mass
unsolicited,
commercial advertising or solicitations via direct mail,
electronic
mail, or by telephone. The compilation, repackaging,
dissemination or
other use of this data is expressly prohibited without
prior written
consent from us.

We reserve the right to modify these terms at any time. By
submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002


                                                                          Ex. 07 / P. 05
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    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
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                                                                                        Ex. 07 / P. 06
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                             Exhibit 8
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             WHOIS BETA


     cashporntube.com                               Lookup


Provide Feedback



   Showing results for: CASHPORNTUBE.COM
   Original Query: cashporntube.com



     Raw WHOIS Record

     Domain Name: CASHPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     cashporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     cashporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     cashporntube.com@whoisprotectservice.net                                       Ex. 08 / P. 02
              Case 3:13-cv-01045-SI    Document 136-1     Filed 07/22/14   Page 46 of 57
             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       cashporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.XXX69TUBE.COM
       Name Server: NS2.XXX69TUBE.COM

       Creation Date: 2014-04-29
       Expiration Date: 2015-04-29




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
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query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.

                                                                                        Ex. 08 / P. 03
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                             Exhibit 9
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                                                                      Ex. 09 / P. 01
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              WHOIS BETA


     dailyfreeporntubes.net                          Lookup


Provide Feedback



   Showing results for: DAILYFREEPORNTUBES.NET
   Original Query: dailyfreeporntubes.net




     Contact Information
     Registrant Contact
     Name: C.F.M. van Huijgevoort
     Organization: Multimedia Home Service
     Mailing Address: Pieter Mondriaanstraat 10, Oosterhout Noord-Brabant 4907 NX
     Netherlands
     Phone: 0031653295124
     Ext:
     Fax:
     Fax Ext:
     Email:huijgbv@planet.nl

     Admin Contact
     Name: C.F.M. van Huijgevoort
     Organization: Multimedia Home Service
     Mailing Address: Pieter Mondriaanstraat 10, Oosterhout Noord-Brabant 4907 NX
     Netherlands
     Phone: 0031653295124
     Ext:
     Fax:
     Fax Ext:
     Email:huijgbv@planet.nl
                                                                                     Ex. 09 / P. 02
      Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 50 of 57

Tech Contact
Name: C.F.M. van Huijgevoort
Organization: Multimedia Home Service
Mailing Address: Pieter Mondriaanstraat 10, Oosterhout Noord-Brabant 4907 NX
Netherlands
Phone: 0031653295124
Ext:
Fax:
Fax Ext:
Email:huijgbv@planet.nl




Registrar
WHOIS Server: whois.godaddy.com
URL: http://www.godaddy.com
Registrar: GoDaddy.com, LLC
IANA ID: 146
Abuse Contact Email:abuse@godaddy.com
Abuse Contact Phone: +1.480-624-2505




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientRenewProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2013-10-22
Created Date:
Registration Expiration Date: 2014-10-22



                                                                            Ex. 09 / P. 03
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Name Servers
NS1.SIMPLECOM.NET
NS2.SIMPLECOM.NET




Raw WHOIS Record

Domain Name: DAILYFREEPORNTUBES.NET
Registry Domain ID: 1832115047_DOMAIN_NET-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2013-10-22 15:34:07
Creation Date: 2013-10-22 15:03:05
Registrar Registration Expiration Date: 2014-10-22 15:03:05
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: C.F.M. van Huijgevoort
Registrant Organization: Multimedia Home Service
Registrant Street: Pieter Mondriaanstraat 10
Registrant City: Oosterhout
Registrant State/Province: Noord-Brabant
Registrant Postal Code: 4907 NX
Registrant Country: Netherlands
Registrant Phone: 0031653295124
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: huijgbv@planet.nl
Registry Admin ID:
Admin Name: C.F.M. van Huijgevoort
Admin Organization: Multimedia Home Service
Admin Street: Pieter Mondriaanstraat 10
Admin City: Oosterhout
Admin State/Province: Noord-Brabant
Admin Postal Code: 4907 NX
Admin Country: Netherlands
                                                       Ex. 09 / P. 04
Admin Phone: 0031653295124
     Case 3:13-cv-01045-SI   Document 136-1   Filed 07/22/14   Page 52 of 57
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: huijgbv@planet.nl
Registry Tech ID:
Tech Name: C.F.M. van Huijgevoort
Tech Organization: Multimedia Home Service
Tech Street: Pieter Mondriaanstraat 10
Tech City: Oosterhout
Tech State/Province: Noord-Brabant
Tech Postal Code: 4907 NX
Tech Country: Netherlands
Tech Phone: 0031653295124
Tech Phone Ext:
Tech Fax:
Tech Fax Ext:
Tech Email: huijgbv@planet.nl
Name Server: NS1.SIMPLECOM.NET
Name Server: NS2.SIMPLECOM.NET
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2014-07-17T21:00:00Z

The data contained in GoDaddy.com, LLC's WhoIs database,
while believed by the company to be reliable, is provided
"as is"
with no guarantee or warranties regarding its accuracy.
This
information is provided for the sole purpose of assisting
you
in obtaining information about domain name registration
records.
Any use of this data for any other purpose is expressly
forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,
you agree to these terms of usage and limitations of
warranty. In particular,
you agree not to use this data to allow, enable, or
otherwise make possible,
dissemination or collection of this data, in part or in its
entirety, for any
purpose, such as the transmission of unsolicited
advertising and
and solicitations of any kind, including spam. You further
agree
not to use this data to enable high volume, automated or
robotic electronic
processes designed to collect or compile this data for any
purpose,                                               Ex. 09 / P. 05
including mining this data for your own personal or
              Case 3:13-cv-01045-SI    Document 136-1     Filed 07/22/14   Page 53 of 57
       commercial purposes.

       Please note: the registrant of the domain name is specified
       in the "registrant" section. In most cases, GoDaddy.com,
       LLC
       is not the registrant of domain names listed in this
       database.




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
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* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
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                                                                                        Ex. 09 / P. 06
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                            Exhibit 10
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                                                                      Ex. 10 / P. 01
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                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     docporntube.com                                Lookup


Provide Feedback



   Showing results for: DOCPORNTUBE.COM
   Original Query: docporntube.com



     Raw WHOIS Record

     Domain Name: DOCPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     docporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     docporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     docporntube.com@whoisprotectservice.net                                        Ex. 10 / P. 02
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             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       docporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.KWIKDNS.COM
       Name Server: NS2.KWIKDNS.COM

       Creation Date: 2011-02-28
       Expiration Date: 2015-02-28




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                                                                                        Ex. 10 / P. 03
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